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                                   December 10, 2019                            ·

     ·1· · · · · · · · UNITED STATES DISTRICT COURT

     ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA

     ·3· · · · · · · · ·CASE NO. 9:18-cv-80176-BB/BR

     ·4
     · ·   ·IRA KLEIMAN, as the personal representative
     ·5·   ·of the Estate of David Kleiman, and
     · ·   ·W&K Info Defense Research, LLC,
     ·6
     · ·   · · · · · ·Plaintiffs,
     ·7
     · ·   ·-vs-
     ·8
     · ·   ·CRAIG WRIGHT,
     ·9
     · ·   · · · · · ·Defendant.
     10

     11· ·* * * * * * * * * * * * * * * * * * *

     12· ·VIDEOTAPED DEPOSITION OF CARTER CONRAD

     13· ·DATE TAKEN: December 10, 2019

     14· ·TIME: 10:09 a.m. - 11:00 a.m.

     15· ·PLACE: 250 North Australian Avenue

     16· ·West Palm Beach, Florida 33401

     17
     · · ·TAKEN BEFORE: RICK E. LEVY, RPR, FPR
     18· · · · · · · · ·AND NOTARY PUBLIC

     19

     20· ·* * * * * * * * * * * * * * * * * * *

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     ·1· ·Miami.· They -- the VA Hospital in Miami had a spinal
     ·2· ·cord injury unit.· The one up here my understanding does
     ·3· ·not so that's for treatment purposes Miami was more -- a
     ·4· ·more practical place for him to receive treatment.
     ·5· · · · Q.· ·Did you ever visit him while -- David while he
     ·6· ·was in the hospital?
     ·7· · · · A.· ·Multiple times.
     ·8· · · · Q.· ·Could you describe what the hospital looked
     ·9· ·like?
     10· · · · A.· ·So the one in West Palm is a little bit newer.
     11· ·He was in a quarantined area at the one in West Palm
     12· ·because that's when he was first diagnosed with MRSA.
     13· ·So to enter there you would have to gown up and it was a
     14· ·contagious area.· The VA Hospital in Miami is much
     15· ·larger, much older building.· More -- I saw evidence of
     16· ·vast number of patients, more than in West Palm.
     17· ·Various veterans that were there, ages -- wide range of
     18· ·ages and disabilities.
     19· · · · Q.· ·Do you know who Ira Kleiman is?
     20· · · · A.· ·I understand David's step brother.
     21· · · · Q.· ·Did you ever see Ira visit Dave at the
     22· ·hospital?
     23· · · · A.· ·No, sir.
     24· · · · Q.· ·Did Dave ever say that Ira visited him while
     25· ·he was in hospital?


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     ·1· · · · A.· ·We had very few conversations about Ira over
     ·2· ·the course of my entire time I've known Dave.
     ·3· · · · Q.· ·What were the subjects of those conversations?
     ·4· · · · A.· ·They were estranged.· I mean that was my
     ·5· ·understanding.· I can't give you specific time.
     ·6· · · · Q.· ·So they didn't have a good relationship?
     ·7· · · · · · ·MR. ROCHE:· Objection to form.
     ·8· · · · · · ·THE WITNESS:· That's my understanding.
     ·9· ·BY MR. PASCHAL:
     10· · · · Q.· ·Now, you went in the entire time you knew
     11· ·David did he ever mention anything about Bitcoin to you?
     12· · · · A.· ·No, sir.
     13· · · · Q.· ·In the entire time that you knew David did he
     14· ·ever mention Craig Wright to you?
     15· · · · A.· ·Yes.
     16· · · · Q.· ·What would he say about Craig Wright?
     17· · · · A.· ·Craig shared a certification that Dave and I
     18· ·both had at the time.· The International Society of
     19· ·Forensic Computer Examiners and Craig was active posting
     20· ·on the list.· I can't tell you how active.· I just would
     21· ·recognize his name from the post.
     22· · · · · · ·I had understood through Dave that they worked
     23· ·together on a project.· Dave classified it as a white
     24· ·paper.· Had to do with the analysis of data from a hard
     25· ·drive if that data had been overwritten.· Basically the


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     ·1· ·summation of that paper, I haven't read it, but the
     ·2· ·summation as Dave represented it to me is if data on a
     ·3· ·hard drive on a magnetic storage device is overwritten
     ·4· ·just one time with other data in the sector or in the
     ·5· ·cluster that it's in that it becomes very difficult to
     ·6· ·determine what that underlying data was.
     ·7· · · · · · ·I guess it was in correlation with a
     ·8· ·Department of Defense requirement that data be
     ·9· ·overwritten seven times in a variety of different
     10· ·manners but they had basically established that for most
     11· ·practical uses if the data is overwritten one time
     12· ·effectively you've destroyed the data and that was a
     13· ·project according to Dave that they had worked on
     14· ·together.
     15· · · · Q.· ·I just want to ask you about the overwriting
     16· ·data.· So Dave and Craig's position was that if you
     17· ·overwrite data once it's unrecoverable?
     18· · · · · · ·MR. ROCHE:· Objection.
     19· · · · · · ·MR. ZIMET:· You can answer.
     20· · · · · · ·THE WITNESS:· That's my understanding.· Again
     21· · · · I haven't read the paper.
     22· ·BY MR. PASCHAL:
     23· · · · Q.· ·But you're familiar with this sort of stuff
     24· ·because -- is sit like part of what you work on?
     25· · · · · · ·MR. ROCHE:· Objection.


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     ·1· · · · · · ·THE WITNESS:· Yes.
     ·2· ·BY MR. PASCHAL:
     ·3· · · · Q.· ·If somebody was to overwrite data for let's
     ·4· ·say several years would that make it difficult to
     ·5· ·recover data?
     ·6· · · · · · ·MR. ROCHE:· Objection, calls for expert
     ·7· · · · testimony.
     ·8· · · · · · ·THE WITNESS:· As it relates to the white paper
     ·9· · · · and the inference that I understood from it
     10· · · · overwriting it one time is effective -- effectively
     11· · · · overwriting the data but again the Department of
     12· · · · Defense requirement for data destruction is I think
     13· · · · seven times in various patterns.
     14· ·BY MR. PASCHAL:
     15· · · · Q.· ·So when you said white paper you mean
     16· ·overwriting data white paper?
     17· · · · A.· ·Yes.· Again I don't know the name of it.
     18· ·Research paper commonly referred to as a white paper.
     19· · · · Q.· ·Did Dave ever say that he had any other
     20· ·business ventures with Craig Wright?
     21· · · · A.· ·No.· No.
     22· · · · Q.· ·Did he say that he was ever working on any
     23· ·projects with Craig Wright other than the white paper?
     24· · · · A.· ·I don't remember.· I don't recall any, no.
     25· · · · Q.· ·Did Dave ever speak -- let me say in the


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     ·1· ·reverse.· Did Dave ever speak highly of Craig Wright?
     ·2· · · · · · ·MR. ROCHE:· Objection to form.
     ·3· · · · · · ·THE WITNESS:· I would say -- to the extent
     ·4· · · · that they worked together on a project Dave had
     ·5· · · · respect for him but --
     ·6· · · · · · ·MR. ZIMET:· The question is did he ever speak
     ·7· · · · highly of him so if you know you do and if you
     ·8· · · · don't know you don't.
     ·9· · · · · · ·THE WITNESS:· I can't categorize.· There was
     10· · · · nothing disparaging.
     11· ·BY MR. PASCHAL:
     12· · · · Q.· ·Up until the date that David died did he ever
     13· ·say anything bad about Craig Wright?
     14· · · · A.· ·I don't recall any disparaging remarks.
     15· · · · Q.· ·He certainly never said Craig stole anything
     16· ·from him?
     17· · · · · · ·MR. ROCHE:· Objection.
     18· · · · · · ·THE WITNESS:· I don't recall hearing any of
     19· · · · that, no.
     20· ·BY MR. PASCHAL:
     21· · · · Q.· ·And Dave never told you that he had hundreds
     22· ·of millions of dollars worth of Bitcoin?
     23· · · · · · ·MR. ROCHE:· Objection.
     24· · · · · · ·THE WITNESS:· No.
     25


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     ·1· ·BY MR. PASCHAL:
     ·2· · · · Q.· ·Are you familiar with Dave's -- in any way of
     ·3· ·Dave's financial situation?
     ·4· · · · A.· ·I was.
     ·5· · · · Q.· ·What was his financial situation?
     ·6· · · · A.· ·Toward the end of his life it was dire.
     ·7· · · · Q.· ·You know his house was being foreclosed?
     ·8· · · · A.· ·Yes, I would go to his house to pick up mail
     ·9· ·for him and there was notices from the mortgage company.
     10· · · · Q.· ·Were there other notices regarding debt and
     11· ·debt collection?
     12· · · · A.· ·Credit card.· Other -- that's just my
     13· ·recollection.· It was not a good financial situation he
     14· ·was in.
     15· · · · Q.· ·When you visited his house did you have a key
     16· ·to access his house?
     17· · · · A.· ·I did.· He would have to call me in at the
     18· ·gate.· I wasn't on a permanent entry list but he would
     19· ·call me in.· I would go pick up the mail.· Check on the
     20· ·status of the house.
     21· · · · Q.· ·Did you ever see computers in his home?
     22· · · · A.· ·I'm not certain.· I don't know.· He had an
     23· ·office.· There was computer equipment in there.· Were
     24· ·they actually computers I just don't recall.
     25· · · · Q.· ·Do you recall ever seeing any of that computer


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